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                           UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION
                                         AUSTIN

Thomas Hubbard PhD                                    §
                                                      §
vs.                                                   §     NO: AU:20-CV-01193-RP
                                                      §
Zoe Elise Thomas                                      §

                                                  ORDER


        The Court sets
                  sets and directs the parties, or counsel acting on their behalf, to appear by phone
                        conference on April 28, 2021 at 09:00 AM . Counsel for Plaintiff shall be
for an initial pretrial conference

responsible for coordinating the call and providing dial-in information at least 24 hours prior to the

hearing to opposing counsel and to the Courtroom Deputy at julie_golden@txwd.uscourts.gov.
The parties should be prepared to discuss potential trial settings as the Court intends to set a trial
date in this action at the initial pretrial conference.



        Until the Court enters a scheduling order in this case and absent additional instruction from

the Court, the parties shall abide by all agreed deadlines set out in their proposed scheduling order




                            on 14th day of April, 2021.




                                                          Robert Pitman
                                                          UNITED STATES DISTRICT JUDGE
